           Case 1:21-cv-00532-SAG Document 94 Filed 09/06/21 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

------------------------------------------------ x
BRYCE CARRASCO,                                 :         Civil Action
                      Plaintiff,                :
    v.                                          :         Case No. 21-532 (SAG)

M&T BANK,                                       :
         Defendant.                             :
------------------------------------------------ x

MOTION FOR SANCTIONS AND AFFIDAVIT OF BRYCE CARRASCO IN SUPPORT

I, Bryce Carrasco, submit this motion for sanctions against Brian Moffet for repeatedly violating
the Federal Rules of Civil Procedure as well as the Maryland Attorney’s code of professional
conduct.

Mr. Moffet continues to show utter indifference to any notion of accountability in his various
filings with this court and he continues to display contempt for the sanctity of the federal
judiciary in so doing. He has made a concerted attempt to make a mockery of these proceedings
and it is simply contemptible and amounts to nothing more than a sheer pathetic disgrace of his
own integrity and character.

On June 25, 2021, I emailed Brian a document which contained my responses to his requests for
admissions. He has submitted court filings which he knows are contradicted by my own
statements and as a result he has knowingly filed papers with this court in an effort to deceive
and delay the course of these proceedings, and has perverted the court process in so doing. He
continues to try to make a mockery of this court in lying in his statements and making
representations to the court which he knows are untrue.

Below is an excerpt from the RFAs which contradict his representations in his most recent Court
filing:
         Case 1:21-cv-00532-SAG Document 94 Filed 09/06/21 Page 2 of 3



REQUEST FOR ADMISSION NO. 2:                  Admit that the document attached hereto as Exhibit
2 (filed as ECF No. 15-5) is a true and accurate copy of the M&T Bank Visa Credit Card
Agreement that you received from M&T with the Account Activation Letter.
RESPONSE: Plaintiff cannot truthfully admit or deny this request because he lacks knowledge
or information sufficient to form a reasonable basis for admitting or denying the truth of the
matter stated herein. For all other purposes, the plaintiff denies that that the document attached as
exhibit 2 was received at the time he received the Account activation letter. Plaintiff did not
discover the existence of Exhibit 2 prior to February 2021, and therefore he is not in a position to
state the precise time at which such document was received so far as that time is prior to
February of 2021. Therefore, plaintiff denies that he received the document attached as exhibit 2
“with” the account activation letter.



REQUEST FOR ADMISSION NO. 3:                  Admit that your M&T Credit Card was enclosed
with the Account Activation Letter.

RESPONSE: Plaintiff cannot truthfully admit or deny because he lacks knowledge and
information as to the truth of the matter requested to be admitted. Plaintiff denies request for
admission No. 3 as far as it characterizes the M&T Credit Card as being "his" or to the extent to
which such custody would imply his obligation to be bound by any set of obligations which were
never properly brought to his attention when he opened the account ending in 6414 with the
defendant.



REQUEST FOR ADMISSION NO. 4:                  Admit that you transferred a balance to your M&T
Credit Card in August 2020.

RESPONSE: Plaintiff denies request for admission number 4 on the grounds that it
mischaracterizes the transaction and nature of the balance transfer which took place in August
2020; plaintiff admits that at some time around when he applied for the credit card with M&T he
requested that they remit payment in the amount of $2,200 to Bank of America. Since the
plaintiff did not initiate the transaction, and never received any confirmation or verification of
the receipt of said request for the wire transfer from M&T pertaining to the transaction, he denies
that he transferred the balance and states that M&T sent a wire transfer to Bank of America to
the benefit of Plaintiff in the amount of $2,200 which was completed on August 3, 2020.




                                                 2
         Case 1:21-cv-00532-SAG Document 94 Filed 09/06/21 Page 3 of 3



                                         *      *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 6, 2021. /s/Bryce Carrasco.

                                         Bryce Carrasco
                                      334 Ternwing Drive
                                    Arnold, Maryland 21012
                                   bocarrasco47@outlook.com
                                          410-858-7432




                                                3
